         Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 1 of 40




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

STEVEN GREENE,                                                Case No. 20-cv-11115

               Plaintiff
                                                                        COMPLAINT
vs.

THE CITY OF NEW YORK, NEW YORK CITY POLICE
                                              DEMAND FOR JURY TRIAL
DEPARTMENT (“NYPD”) OFFICER PEDRO LEZCANO
(SHIELD NO. 17113), NYPD OFFICER BRIAN
VANDUZER (SHIELD NO. 2650), NYPD OFFICER
ARIEL EUSEBIO (SHIELD NO. 19648), NYPD
OFFICER ANGEL CRESPO (SHIELD NO. 03030), JOHN
DOES 1-10
               Defendants.




      Plaintiff, by and through his undersigned attorney, alleges as follows:

                                NATURE OF THE ACTION

      1. Plaintiff brings this action for compensatory damages, punitive damages, and

 attorney’s fees pursuant to 42 U.S.C. § 1983 and 42 U.S.C. § 1988 for violation of his civil

 rights under 42 U.S.C. § 1983 and the Fourth and Fourteenth Amendments to the United

 States Constitution, as well as New York State law claims against all Defendants that are so

 related to the other counts that they form part of the same case.

                                       JURISDICTION

      2. The Court has jurisdiction over Plaintiff’s federal law claims under 28 U.S.C §§

 1331, 1343(a), (3), and (4), claims and supplemental jurisdiction over Plaintiff's State claims

 under 28 U.S.C. § 1367(a).

                                JURY TRIAL DEMANDED



                                               1
          Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 2 of 40




    3. Plaintiff demands trial by jury of all issues properly triable thereby.

                                            VENUE

    4. Venue is proper for the United States District Court for the Southern District of New

York pursuant to 28 U.S.C. § 1391(b) and (c).

                                        THE PARTIES

    5.     Plaintiff Steven Greene is a United States citizen and resident of the City and State

of New York.

    6. That at all times herein mentioned, Defendant CITY OF NEW YORK (hereinafter

“CITY”) was and is a municipal corporation, duly organized and existing under and by virtue

of the laws of the State of New York.

    7. That at all times herein mentioned, Defendant CITY operated, controlled and

maintained a police force known as the New York Police Department (“hereinafter

“NYPD”).

    8. That at all times herein mentioned, defendant Officer Pedro Lezcano (hereinafter,

“LEZCANO”) was and is an NYPD officer employed by defendant CITY.

    9. That at all times herein mentioned, Defendant LEZCANO was acting within the

course and scope of his employment with defendant CITY.

    10.        That at all times herein mentioned, Defendant LEZCANO was acting under

color of state law.

    11.        Defendant LEZCANO is sued herein in both his individual and official

capacities.

    12.        That at all times herein mentioned, Defendant Officer Brian Vanduzer

(hereinafter, “VANDUZER”) was and is an NYPD officer employed by defendant CITY.




                                                2
          Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 3 of 40




    13.        That at all times herein mentioned, Defendant VANDUZER was acting within

the course and scope of his employment with Defendant CITY.

    14.        That at all times herein mentioned, Defendant VANDUZER was acting under

color of state law.

    15.        Defendant VANDUZER is sued herein in both his individual and official

capacities.

    16.        That at all times herein mentioned, Defendant Officer Ariel Eusebio

(hereinafter, “EUSEBIO”) was and is an NYPD officer employed by defendant CITY.

    17.        That at all times herein mentioned, Defendant EUSEBIO was acting within the

course and scope of his employment with Defendant CITY.

    18.        That at all times herein mentioned, Defendant EUSEBIO was acting under

color of state law.

    19.        Defendant EUSEBIO is sued herein in both his individual and official

capacities.

    20.        That at all times herein mentioned, currently unknown and unnamed officers

(hereinafter, “DOES”) was and are NYPD officers and supervisors employed by defendant

CITY.

    21.        That at all times herein mentioned, defendant DOES were acting within the

course and scope of their employment with defendant CITY.

    22.        That at all times herein mentioned, Defendant DOES were acting under color of

state law.

    23.        Defendant DOES are sued herein in both their individual and official capacities.




                                              3
          Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 4 of 40




    24.        At all relevant times herein, the individual Defendants acted jointly and in

concert with each other.

    25.        Each individual defendant had the duty and the opportunity to protect Plaintiff

from the unlawful actions of the other individual Defendants, but each individual defendant

failed and refused to perform such duty, thereby proximately causing Plaintiff's injuries.


                                   STATEMENT OF FACTS

    26.        On or about February 18, 2019, Plaintiff Steven Greene, who is a high

functioning and very compassionate person with a diagnosis of bi-polar, and other mental

health conditions, was walking to the store with his mom and several of her friends, in the

southwest corner of East 188th Street and Webster Avenue, in the Bronx, New York.

    27.       His mom’s friend notices that across the street a few Caucasian and Hispanic

Defendant police officers in a marked police vehicle were driving slowly, or “creeping”. He

points the car out to Plaintiff.

    28.       In an instant, the officers, stop the car in front of them, with their guns drawn.

Plaintiff and his mom and her friends are alarmed by the display of the gun, and were scared

to see, once again, officers pulling out their guns on the street and aiming them towards a few

young dark skinned men that were walking. Those men, who Plaintiff and his mom and

friends had been observing, did not look like they were committing any crime. In fact, it

appeared they were just walking together.

    29.       Plaintiff and his mom and their friends, observed Defendants Vanduzer, Eusebio

and John Does 1-2 in plainclothes in the process of detaining and searching three seemingly

innocent teenaged males. Mr. Greene observed one of these plainclothes Does unholster his

firearm and point it in the back of one of these unknown males.



                                                4
          Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 5 of 40




    30.       At this time, Defendant LEZCANO arrived and began participating in the frisk

of the unknown males.

    31.       As Plaintiff and his mom’s friend watch what unfolded, they saw that the young

men were frisked and then released.

    32.       Deflated and upset about the plight of young men in their community, and the

use of weapons by police officers on young men, for what appeared was no crime (as they

young men were stopped and released), and upset about the drawing of guns by the NYPD in

a display of violence and disregard to human life, his mom’s friend states, “Look Steve, these

officers have nothing better to do.”

    33.       Mr. Greene then turns to his mom’s friend and shouts out to him, within ear shot

of the Defendant Officers, in sum and substance, "Those officers have nothing better to do,

are stopping these boys for no reason. I thought NYPD does not stop and frisk."

    34.       At which point, the John Doe Officer who had drawn his gun on the young black

men they had just released, said in sum and substance, “We do have better things to do, mind

your business. This is not your issue, this not your business.”

    35.       Mr. Green responded, in sum and substance, that he has freedom of speech, and

can state the obvious.

    36.       Upon hearing this, and since Officers had already released the young men they

had stopped with their guns drawn, the Officers cross the street, angry and threateningly

approach Mr. Greene.

    37.       Defendant Officers then instruct Plaintiff to leave the area. Plaintiff did listen to

the Officers command, and began to walk north bound on Webster Avenue.

    38.       Defendant Officers followed behind Plaintiff.




                                                 5
          Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 6 of 40




    39.       Mr. Greene backed away from the officers, and started to retreat towards a wall,

as the Defendant Officers were approaching him.

    40.       As he is walking backwards towards a shop wall, several other Defendant

officers came up aggressively and quickly towards him, yelling at him, calling Mr. Greene “a

pussy”, as if to threaten and intimidate him.

    41.       Mr. Greene, who was at the time, working as a stocker and cleaner for a store in

the Bronx, would spend his days cutting down boxes and cleaning the store.

    42.       He carried a box cutter, which is not classified as an illegal weapon, in his

pocket, along with his house keys, so he would always remember to have it with him when

going to work.

    43.       Mr. Greene was walking away from the officers, with his hands behind him, not

displaying any weapon at all, moving at a quick pace walking backwards, away from the

officers who had instructed him to leave, but were yelling profanities at him, and quickly

crowding around him.

    44.       As Mr. Greene slightly bounced back in fear, in an instant and unbeknownst to

any of the charging officers the box cutter, inadvertently, fell from his puffy winter coat left

pocket and hit the ground.

    45.       One of the Defendant Officers who was fast approaching Mr. Greene, heard and

saw the boxcutter fall out of the pocket of Mr. Greene’s puffy winter coat.

    46.       Mr. Greene, who keeps the boxcutter for work, and did not remember it was in

his pocket, was oblivious to the fact that it had inadvertently fallen out of his left pocket.




                                                6
          Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 7 of 40




    47.       Rather than holding onto it, and then returning the box cutter to Mr. Greene, the

Officer quickly and quietly placed it in his own back pocket as he continued to approach Mr.

Greene.

    48.       Mr. Greene was explaining to officers why he had yelled out to them, trying his

best to defuse the officers.

    49.       Right then, as Mr. Greene was trying to find safety from the charging officers,

moving back against the wall, in compliance with all orders, and not threatening the

Defendant Officers, nor committing any illegal act, nor making any aggressive gestures,

Defendant LEZCANO takes out his taser, points the red light at Mr. Greene and after several

seconds moves in closer, and uses it directly, making direct contact to the clothing on the

back of Plaintiff.

    50.       After this illegal and excessive use of force by Defendant Officers, Mr. Greene is

pushed up against the wall and handcuffed aggressively by the Officers.

    51.       At this point the taser that had already been used on Mr. Greene’s back, was used

again, after Mr. Greene was in handcuffs.

    52.       The taser was so excessively used, and for so long, that not only did it cause

excruciating pain, but Mr. Greene defecated on himself as a result of its excessive use.

    53.       Mr. Greene, who had not been resisting arrest, or committing any other minor

offence, and having suffered through the pain of the taser, and could finally speak, asked,

“What am I being arrested for?”

    54.       The Officers responded that he was menacing them.




                                               7
          Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 8 of 40




    55.       Right then, the officer who had quickly picked up the boxcutter, that only he

knew of, and that only he saw, later yells out to co-defendants in an effort to justify and cover

up the force, and now arrest Plaintiff, “you had a knife.”

    56.       Mr. Greene was confused. He did not have a knife. He did not understand what

was happening.

    57.       Defendant Officers decided to frame Mr. Greene with the boxcutter, claiming it

was a knife he tried to use on them.

    58.       Mr. Greene’s box cutter had fallen out of winter coat left pocket as he was

backing away from the Defendant Officers, walking backwards, trying to avoid any

confrontation.

    59.       The Defendant Officers, after inappropriately using excessive force against Mr.

Greene, by tasing him, then decided to make up the story, replacing the box cutter, calling it

“a knife”, and stating that he held it up, took a fighting stance, and was threatening to use it

on them.

    60.       Rather than admit to the illegal use of the force, and correctly document such, the

Defendant officers conspired together, not for any official NYPD conduct, but to cover up

and justify their illegal action of the use of the taser on Mr. Greene, and the illegal arrest.

    61.       Defendant officers fabricated a story, that Mr. Greene, came charging on them,

approaching the officers, saying “Fuck, ya’ll pussies I want to fight you. Take your shield off

and let’s fight.”

    62.       Defendant Officers then spent the rest of the evening solidifying their false

version of events.




                                                8
          Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 9 of 40




    63.       After the arrest, and while getting into the police vehicle and on the way to the

hospital to the remove the taser darts, Defendant Officers learned that Mr. Greene was an

EDP, not because of his actions towards them, but because he told them so in the back of the

police vehicle when his cuffs were on too tight, and his shoulder was in pain from being

elbowed by Defendant LEZCANO who was sitting next to him in the back of the police

vehicle.

    64.       Mr. Greene told the Officers he was a “mental health patient” and that the cuffs

were on too tight, and that he needed to move his arms, and for that he was further punished.

    65.       Defendant LEZCANO elbowed Plaintiff, telling him, “Stop fucking moving.”

Plaintiff also informed Defendants LEZCANO, VANDUZER and EUSEBIO that he suffers

from mental health issues, to which Defendant LEZCANO replied, “We don’t give a fuck.”

    66.       While Defendant Officers did not care to accommodate Mr. Greene’s disability,

they did care to use his disability against him.

    67.       Defendant officers maliciously used Mr. Greene’s status as an EDP to add

credibility to the paper work covering up their use of excessive and unlawful force.

    68.       Defendant officers maliciously used Mr. Greene’s status as an EDP to further

dehumanize and humiliate him.

    69.       Plaintiff Greene was transported to North Central Bronx Hospital for the removal

of taser prongs, and subsequently to the 52nd Precinct.

    70.       Upon return to the 52nd Precinct, and while in a holding cell there, still in his

soiled pants from defecating earlier, Plaintiff asked Defendant Lezcano to use the restroom.

    71.       Mr. Greene needed to go the restroom because he had been tased and tasers can

cause a loss of control of both the bowels and bladder.




                                                 9
      Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 10 of 40




    72.      Defendant LEZCANO denied Mr. Greene’s request.

    73.      Plaintiff then urinated in his pants. The urine soaked through his pants and was

apparent to everyone.

    74.      For the next 25 hours, until his release from the arraignments, Plaintiff’s body

and clothes remained soiled.

    75.      Defendant Officers did not give Mr. Greene a change of clothes. He was made to

stay in his soiled clothing.

    76.      Plaintiff -who had suffered much indignity at hand of Defendant Officers, was

further made to stay in his soiled clothes, in front of everyone, until his release.

    77.      Plaintiff was very embarrassed and ashamed, and was humiliated by other

officers and prisoners.

    78.      While Mr. Greene had been diagnosed with mental health issues, he was not

emotionally disturbed, yet, he was made to appear like the worst stereotype of a “crazy”

person. In a cell, with stained clothing.

    79.      Allowing Mr. Greene to stay in his soiled clothing not only helped Defendant

Officers further dehumanize Mr. Greene in front of others, but allowed Defendant Officers to

continue weaving false evidence of the “crazy” person they encountered into their made up

narrative.

    80.      In the threat, resistance, or injury incident report (form PD 370-154), Defendant

LEZCANO checked the boxes stating that Mr. Greene had menaced/brandished a weapon,

displayed a weapon, was an EDP, and pushed and shoved him. Further that he had used the

taser for “Defense of self, Defense of other member of the service.” All of which was untrue.

    81.      Lieutenant Mackenzie signed off on the report.




                                               10
      Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 11 of 40




    82.      The arrest report stated, “At TPO, while conducting a lawful investigation of

separate individual defendant became irate and engaged in violent and tumultuous behavior

causing public alarm. When Defendant was asked to leave, he refused then reached into his

left jacket pocket and produced a black folding knife.”

    83.      The weapon description stated that Mr. Greene had a “black knife”.

    84.      The TRI worksheet, filled out by Defendant Officers, stated, that the Officers

were wearing a body worn camera.

    85.      The TRI worksheet also stated that force was used for “defense of self”, and that

subject was “armed with a weapon”.

    86.      The TRI Worksheet stated that the approximate subject distance was “5”.

    87.      The TRI Worksheet was submitted by Angel Crespo, sergeant at 52nd precinct,

and it was approved by Krshnik Bakraqi, Lieutenant, at the 52nd precinct.

    88.      The property voucher, invoiced by defendant LEZCANO, made that there was a

“black knife” as a part of arrest evidence.

    89.      Defendant Officers charged Mr. Greene with felony crime, PL 120.18-

punishable for up to 7 years in prison in an attempt to cover up their illegal use of the force.

    90.      Mr. Greene, a compassionate and caring young man, who manages his mental

health issues with grace and calm, was made to sit in his soiled clothing while Defendant

Officers falsely wrote up charges against him for a felony crime carrying a 7 year sentence, in

order, but not exclusively, to cover up their illegal actions.

    91.      Defendant Officer Pedro LEZCANO, on the criminal complaint lied and made

up, committing perjury on a charging instrument, stating that Mr. Greene “displayed in his

left hand (1) folding knife with a black handle and pointed said knife at [me].”




                                               11
        Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 12 of 40




    92.      The District Attorney write up stated that Mr. Greene “[t]ook a fighting stance,

and put clenched fists in the air…and displayed a black knife.”

    93.      This was also a lie told to DA’s by defendant officers in their attempt to

maliciously prosecute, abuse process, and falsely arrest Mr. Greene.

    94.      Any one of the supervising sergeants, the lieutenants, reviewing the Use of Force

reports, or the Bronx ADA who wrote up the complaint, Justin Goldberg, could have watched

the Body Worn Camera footage, which refuted Defendant Officer’s fabricated justification

for using the taser.

    95.      However, it does not appear that anyone reviewed the Body Worn Camera

footage worn by Defendant Officers at the scene, even though they are required to watch

such.

    96.      Mr. Greene was charged, by the Bronx DA office, based on Defendant

LEZCANO’s exaggerated and self-serving fabrication of what happened when officers

abused their authority and tased Mr. Greene, who was merely speaking out against to the

police use of guns and force on young men in his neighborhood.

    97.      The Bronx D.A. Notice Pursuant to CPL 710.30(1)(a), are filled with “substance

of statements” where Mr. Greene admits not to threatening or menacing officers with a

weapon, but his mental health diagnoses.

    98.      The Bronx District Attorney’s office charged Mr. Greene with the crimes of

Criminal Possession of a Weapon- P.L. 265.01(2); Resisting Arrest P.L. 205.30; Obstructing

Governmental Administration, P.L. 195.05; and Harassment P.L. 240.26(1).

    99.       In fact, there was no evidence, and no reasonable basis to believe, that Plaintiff

had at any time engaged in conduct obstructing Defendant Officers’ investigation of the three




                                              12
      Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 13 of 40




unknown males, as he spoke to Officers after the three men had been released, nor had he

disobeyed any direct order or command made by Defendant Officers.

    100.    Plaintiff did not resist the three Defendant Officers placing him under arrest.

Nevertheless, Defendant LEZCANO malicious tased him a second time after he had already

been secured in handcuffs and was closely surrounded by all three Defendant Officers.

    101.    This incident only occurred because Plaintiff was acting as a good Samaritan,

verbally questioning the aggressive activity of police in his neighborhood. Defendant

Officers took offense, conspired to contrive a conflict with Plaintiff Greene, and punished

him for his disagreement with their conduct by tasering him twice without provocation or

necessity and then arresting him to cover up their excessive use of force under the pretext that

the boxcutter he used for work was a “knife.”

    102.    No Body-worn Camera footage was provided to Mr. Greene’s criminal defense

attorney Elizabeth Bright, although she wrote the Bronx DA office a day after the incident,

February 19, 2019, requesting the preservation of all the video, including all “NYPD body

camera footage”.

    103.    On February 29, 2019, 10 days after the incident, Ms. Bright sent the Bronx

DA’s Office a Bill of Particulars requesting all “unredacted electronic recordings” and all

other forms of recording, documentation, statements, interactions, and the like.

    104.    Mr. Greene’s defense never received a copy of the Body Worn Camera footage

on February 18, 2019, containing this alleged menacing and brandishing of weapons.

    105.    Ms. Bright tried to obtain surveillance video from the area, from the stores in the

area, but those attempts were unsuccessful, and the store owners either did not call back, or

said they did not have any video of the incident.




                                             13
      Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 14 of 40




   106.     Mr. Greene’s criminal defense attorney never received any video of the incident,

not from the Bronx DA’s office, nor from surveillance cameras.

   107.     After several months, Mr. Greene’s was offered a plea deal of PL 240.20,

disorderly conduct, and a conditional discharge.

   108.     Mr. Greene wondered if- absent any video documenting the events before he was

tasered- a jury would believe him, an “EDP”. He did not think a jury- absent a video- would

take his word, “a mental health patient” for that of an Officers. He wondered if a jury would

find he was innocent, and was arrested to cover up the use of force.

   109.     Mr. Greene thought about his mental health, and his status as an EDP, and how it

had already been used against him, like it had been to justify the killing of many other black

men, and how those young black men never got justice, and how the officers who had killed

them, had never even been charged or held accountable.

   110.     He reasoned that -without any documentation or evidence- like a video or BWC,

there was no way he would get justice in the prosecution against him. He doubted anyone

would believe him, and if he could just plead guilty he could save himself against a criminal

legal system that had numerous times demonstrated its bias towards people like himself.

   111.     Despite having not committed any of the offenses with which he was maliciously

charged, and based on demonstrably false allegations relayed by Defendant LEZCANO, and

the lack of any apparent evidence to the contrary, Plaintiff pled guilty to Disorderly Conduct

on May 2, 2019.

   112.     On July 12, 2019, via email to FOILRequest@Bronxda.nyc.gov, Marashi Legal,

with the authorization of Mr. Greene, sent a FOIL request including in bold type “complete




                                             14
          Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 15 of 40




footage from body cameras worn by officers present for the arrest” of the February 18, 2019

incident.

    113.      On October 22, 2019 Plaintiff received the Bronx District Attorney’s FOIL

response and invoice for $89.50.

    114.      On December 6, 2019, Plaintiff received the results of said FOIL request for the

DA office.

    115.      The results included five separate Body Worn Camera footage.

    116.      None of the received Body Worn Camera (BWC) footage contained any video of

the pre-taser moments.

    117.      All five of the Body Worn Camera footage provided to Marashi Legal started

after Mr. Greene was tased.

    118.      In fact, two of the BWC footage videos started with sound, indicating that there

was no 30 second lead time before the video, and indicating that such videos likely had been

edited to hide evidence of the illegal arrest and force.

    119.      On December 23, 2019 Marashi Legal, with the authorization of Mr. Greene,

sent a FOIL request, this time to the NYPD FOIL unit, including in bold type “complete

footage from body cameras worn by officers present for the arrest”

    120.      On January 27, 2020, Plaintiff was provided with a copy of, this time- seven

body worn camera videos. This was two more than what was provided by the Bronx DA

office.

    121.      One of the videos contained BWC footage showing the 30 seconds or so before

Mr. Greene was tased.




                                               15
      Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 16 of 40




    122.       The BWC footage provided by the NYPD showed exactly what Mr. Greene had

stated all along. That he yelled out against conduct of the Defendant Officers, they heard,

told him to leave, he did, and he walked back in submission to the NYPD Defendant

Officers’ order. Regardless, Defendant Officers came after and tased him as punishment for

his protected first amendment speech. Then, they had used the boxcutter that fell from his

pocket, to say he had threatened them with it.

    123.       Mr. Greene never threatened officers.

    124.       Mr. Greene never got into a fight stance.

    125.       Mr. Greene did not threaten officers with weapon.

    126.       Mr. Greene did not hold a knife in his hands.

    127.       Mr. Greene did not point a knife at any officers.

    128.       But Defendant Officers did not provide the District Attorney with the entirety of

their BWC footage; notably lacking was the BWC footage depicting the events leading up to

Mr. Greene’s arrest.

    129.       In noncompliance with New York Police Department policy (see Patrol Guide

212-213, which states that “all BWC videos related to an arrest” [must be] “provided to …

the appropriate District Attorney’s office by utilizing the ‘Share’ function in the video

management system”), Defendant Officers intentionally withheld body worn camera footage

that implicated them for the false arrest of Mr. Greene and the excessive force they used

against him.

    130.       Supervisory desk officer Defendant DOES either conspired with Defendant

Officers to avoid releasing the body worn camera footage detrimental to their interests to the




                                                16
      Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 17 of 40




District Attorney or were inadequately trained to supervise, correct and discipline Defendant

Officers’ intentional noncompliance with the NYPD Patrol Guide.

    131.     Defendant LEZCANO signed the criminal court complaint, thereby swearing to

the veracity of its allegations, under penalty of perjury, despite knowing that there was no

truth to those allegations whatsoever, that the allegations against Plaintiff were false and

completely fabricated, that there was never any legal basis to have detained or arrested

Plaintiff, and that there was no legal basis to prosecute him, and despite his full knowledge

that he had not provided the District Attorney with the very body worn camera footage that

would contradict his false narrative about Plaintiff’s arrest.

    132.        There was no probable cause that Plaintiff Greene had committed any of these

crimes or any other offense.

    133.     Upon information and belief, Defendants arrested and imprisoned Plaintiff

despite knowing that there was no legal justification for doing so in order to justify their own

actions, and cover up their use of force against Plaintiff, and to put pressure on plaintiff to

plead guilty.

    134.     Upon information and belief, Defendant CITY of New York, has both a custom

of editing and withholding body-worn camera video, and JOHN DOE as the policy maker, in

charge of body camera policy and enforcement, was made aware of these edits and with-

holdings, both through newspaper articles, the CCRB report, and other lawsuits, and has

failed to address this pattern

    135.     The City of New York, through the NYPD, was aware of the redaction and

withholding of body worn camera footage but were deliberately indifferent to it and failed to




                                               17
      Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 18 of 40




train, supervise, or discipline officers who were not submitting their body-worn camera

footage, or redacting where there was no legal or procedural justification for the redaction.

    136.     One of the purposes of a body worn camera is to deter officers from engaging in

unconstitutional conduct. The rationale being that body worn cameras increase transparency,

and ergo, accountability. There is no transparency where the footage is with-held or redacted

to spoil any evidence of misconduct.

    137.     Defendant Officers, who were both, according their own TRI’s, wearing body-

worn cameras, did not submit the footage of their misconduct.

    138.     The footage of their misconduct was not provided to the Bronx District

Attorney’s office, as per the written patrol guidelines (see, 212-123 2018 version section 31,

and 2020 version line 21).

    139.     The City of New York is deliberately indifferent to the absence of discipline or

oversight.

    140.     Defendant officers knew they would not have to submit the unedited body-worn

footage cameras in full, because they were aware of the City of New York’s failure to train,

supervise, or discipline officers for such acts.

    141.     The practice of editing or not releasing body worn camera footage in order to

hide illegal acts by the NYPD Officers, and the lack of supervision over such actions, has

been routine, and found in all levels of the NYPD. Such actions, by the wanton hiding and

editing, fabricating evidence to twist the narrative, is a direct consequence of the lack of

supervision and training of NYPD Officers to submit and release unredacted BWC footage.

It is because of such policy and custom, which is objectively deliberately indifferent, that the

NYPD Defendant Officers committed the unlawful actions they did here. Such lack of




                                               18
        Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 19 of 40




supervision and training, among other things, is an implicit agreement to the fact it is being

done.

    142.        Defendant Officers knew that their supervisors coalesced in the hiding of

segments of video, the very accountability measures put in place to prevent illegal conduct by

state actors.

    143.        Plaintiff was injured.

    144.        This withholding of video is one NYPD policy makers and supervisors had been

aware, as it has been on going issue since the introduction of the BWC’s. These issues have

been reported many times, by different news outlets, (See, https://gothamist.com/news/nypd-

body-cameras-dont-stop-officers-from-making-unlawful-stops-study-shows,

https://www.gothamgazette.com/city/9723-new-body-camera-policy-nypd-controls-video-

narrative)

    145.        It has oft been reported that the NYPD is not giving critical bodycam footage to

officials investigating abuse (See, https://www.propublica.org/article/the-nypd-isnt-giving-

critical-bodycam-footage-to-officials-investigating-alleged-abuse) “the department’s refusal

to share evidence of its own officers’ potential misconduct isn’t an aberration. It’s routine.

Despite its legal obligations, the NYPD has been withholding significant evidence and

undermining investigations of alleged abuse…. And, critically, it often doesn’t produce body-

worn camera footage.”

    146.         All Defendants agreed, cooperated, participated, and conspired with their co-

Defendants herein to assist in and effectuate Plaintiff’s unlawful arrest, excessive force,

malicious abuse of process, and malicious prosecution for crimes Officers knew that he did

not commit, and in so doing deprived Plaintiff of his rights, privileges and immunities




                                                19
      Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 20 of 40




secured by the Constitution of the United States, including, but not limited to, his rights under

the Fourth and Fourteenth Amendments to the U.S. Constitution to be free from unreasonable

searches and seizures and to due process of law.

    147.        Defendants made these false allegations against Plaintiff with actual malice,

and out of spite and ill will, and with retributive purpose.

    148.        Defendants engaged in the above-described conduct intentionally and/or with

deliberate indifference to Plaintiff’s constitutional and civil rights.

    149.        All Defendants acted in concert to lodge these false allegations against Plaintiff

Greene and initiate a prosecution against him for offenses they knew he did not commit.

    150.        Upon information and belief, Defendants arrested and imprisoned Plaintiff

despite knowing that there was no legal justification for doing so in order to justify their own

actions, and cover up their use of force against Plaintiff, and to put pressure on plaintiff to

plead guilty.

    151.     As a result of the foregoing, Plaintiff sustained, inter alia, deprivation of his

constitutional rights; loss of enjoyment of life; loss of liberty; loss of basic; fundamental

human contact; loss of natural contact with his significant other; loss of natural contact with

his family; loss of the natural family role he played within his family as father and husband;

physical injuries; personal injuries; emotional injuries; loss of income; loss of economic

opportunity; pain and suffering; severe mental anguish, emotional distress, fear and lack of

privacy, all necessitating psychiatric or therapeutic counseling, inadequate medical care;

humiliation, indignities and embarrassment; degradation; injury to reputation; restrictions on

or total deprivations of all personal freedoms; liberties and entitlements, including but not

limited to diet, sleep, personal contact, educational opportunity, vocational opportunity,




                                                20
          Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 21 of 40




athletic opportunity, hobbies, religious fulfillment, personal fulfillment, sexual activity,

family relations, marital relations, reading, movies, travel, driving, enjoyment, and

expression. Furthermore, as a direct result of his unjust conviction and imprisonment, and the

excessive force used against him, many of the effects of these disabilities and impairments

continue to plague Plaintiff to this day, and will continue to plague Plaintiff for the rest of his

life.

                         PROCEDURAL POSTURE OF STATE CLAIMS

        152.   On May 26, 2020, Plaintiff filed an Order to Show Cause in the Bronx Supreme

Court under docket 24366/2020E, with an associated petition to nun pro tunc current Mr.

Greene’s original untimely Notice of Claim filed on June 17, 2019, receipt number

201900056338.

        153.   On September 9, 2020, the Order to Show cause to file a late Notice of Claim

was granted, and the original notice of claim was deemed timely served with no further

notice required.

        154.   The Covid-19 related tolling of the Statute of Limitations applies to this action

which has been commenced, with such tolling, within one year and ninety days after the State

Law cause of action of Plaintiff accrued.

        155.   Plaintiff has duly complied with all conditions precedent to the commencement

of this action.



                   FIRST CLAIM FOR RELIEF
       EXCESSIVE FORCE IN VIOLATION OF 42 U.S.C. § 1983 AND
 THE FOURTH AND FOURTEENTH AMENDMENTS OF THE CONSTITUTION




                                                21
      Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 22 of 40




    156.      The Plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

    157.      The level of force employed by Defendants against Plaintiff was objectively

unreasonable and violated Plaintiff’ constitutional rights.

    158.      As a result of the aforementioned conduct of the Defendants, Plaintiff was

subjected to excessive force and sustained physical and emotional injuries.

                   SECOND CLAIM FOR RELIEF
         FALSE ARREST IN VIOLATION OF 42 U.S.C. § 1983 AND
 THE FOURTH AND FOURTEENTH AMENDMENTS OF THE CONSTITUTION

    159.     The Plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

    160.      Plaintiff was subjected to an illegal, improper and false arrest by Defendants,

and taken into custody and caused to be falsely imprisoned, detained, and confined, without

any probable cause, privilege or consent.

    161.      As a direct and proximate result of the foregoing, Plaintiff was placed in

substantial and prolonged fear for his safety, his liberty was restricted for an extended period

of time, He was subjected to handcuffs and other physical restraints, without probable cause

or other lawful justification, in violation of the Fourth and Fourteenth Amendments of the

Constitution of the United States and suffered and will continue to suffer injury and damages

as a result, including, inter alia, physical and mental pain and suffering, and mental anguish.

                   THIRD CLAIM FOR RELIEF
  MALICIOUS PROSECUTION IN VIOLATION OF 42 U.S.C. § 1983 AND THE
   FOURTH AND FOURTEENTH AMENDMENTS OF THE CONSTITUTION

    162.      The Plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.




                                              22
       Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 23 of 40




    163.      Plaintiff Steven Greene was arraigned on a criminal court complaint under Bronx

County Docket Number 2019BX005230, which, based on the fabricated information that

Defendants had provided to the District Attorney’s Office, charged plaintiff with Criminal

Possession of a Weapon 4^ DQO (P.L. 265.01[2]), Resisting Arrest DQO (P.L. 205.30),

Obstructing Governmental Administration 2^ DQO (P.L. 195.05), and Harassment 2^ (P.L.

240.26[1]).

    164.       There was no probable cause that Plaintiff Greene had committed any of these

crimes or any other offense.

    165.       Defendants did not make a complete and full statement of facts to the District

Attorney, and withheld exculpatory evidence from the District Attorney for charges against

Plaintiff.

    166.       Defendants were directly and actively involved in the continuation of criminal

proceedings against Plaintiff for charges against Plaintiff.

    167.       Defendants acted with malice in continuing criminal proceedings against

Plaintiff.

    168.       Defendants misrepresented and falsified evidence throughout all phases of the

criminal proceeding.

    169.       Notwithstanding the perjurious and fraudulent conduct of the Defendants,

Plaintiff pled guilty to Disorderly Conduct on May 2, 2019.

                    FOURTH CLAIM FOR RELIEF
      MALICIOUS ABUSE OF PROCESS IN VIOLATION OF 42 U.S.C. § 1983

    170.       The Plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

    171.       Defendants issued legal process to place Plaintiff under arrest.



                                               23
       Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 24 of 40




    172.         Defendants arrested Plaintiff in order to achieve a collateral objective of

covering up their force, beyond the legitimate ends of the legal process.

    173.         Defendants acted with intent to do harm to Plaintiff without excuse or

justification.

    174.         As a direct and proximate result of the misconduct and abuse of authority

described above, Plaintiff have suffered and will continue to suffer injury and damages,

including, inter alia, physical and mental pain and suffering, and mental anguish.

                        FIFTH CLAIM FOR RELIEF
           FAILURE TO INTERVENE IN VIOLATION OF 42 U.S.C.§ 1983

    175.         The Plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

    176.         Each and every individual defendant had an affirmative duty to intervene on

Plaintiff’ behalf to prevent the violation of his constitutional rights.

    177.         The individual Defendants failed to intervene on Plaintiff’ behalf to prevent the

violation of his constitutional rights incurred by the use of excessive force against him, his

false arrest, malicious prosecution, and excessive force, despite having had a realistic

opportunity to do so.

    178.         As a result of the aforementioned conduct of the individual Defendants,

Plaintiff’s constitutional rights were violated.

    179.     The Plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

    180.     Defendants agreed, cooperated, participated, and conspired to assist in and

effectuate plaintiff's unlawful detention, arrest, imprisonment, and malicious prosecution for

crimes she did not commit, and in so doing deprived plaintiff of her rights, privileges and



                                                 24
      Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 25 of 40




immunities secured by the Constitution of the United States, including, but not limited to, her

rights under the Fourth and Fourteenth Amendments to the U.S. Constitution to be free from

unreasonable searches and seizures and to due process of law.

    181.      As a direct and proximate result of the misconduct and abuse of authority

described above, Plaintiff have suffered and will continue to suffer injury and damages,

including, inter alia, physical and mental pain and suffering, and mental anguish.

                        SIXTH CLAIM FOR RELIEF
       DUE PROCESS OF LAW AND COVER-UP CLAIM IN VIOLATION OF 42
                               U.S.C.§ 1983

    182.      The Plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

    183.      In all of the reports of the incident, and all the subsequent hearings regarding the

underlying inmate incident and in all of the papers produced, the photographs, they were all

filled with the fabrications, cover up and lies perpetrated by Defendants.

    184.      There was ample evidence that showed that Mr. Greene had been attacked by

Defendants.

    185.      Evidence was fabricated and made up by Defendants, including the destruction

of the evidence of the body camera footage, to recreate/fabricate/manufacture the cover up of

the crime.

    186.      This cover up was performed by Defendants in order to cover up for the unlawful

arrest and use of excessive force against Mr. Greene, and has now made it almost impossible

for Plaintiff to litigate his false arrest and malicious prosecution claims, making it more

difficult for Mr. Greene to access to the Courts.




                                               25
      Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 26 of 40




    187.      In the arrest report and the TRI were filled out by Defendants with the same lies

created by Defendants regarding the injuries to Plaintiff and they all tainted Plaintiff’s

prosecution and lack of discipline imposed on Defendants.

    188.      The tainting and manufacturing and hiding of evidence in such due process

proceedings is abhorrent in our society, and shocks the conscience.

    189.      A basic tenet of due process is the ability to confront notoriously unreliable

evidence.

    190.      Defendants knew their statements and actions were unlawful, contradictory and

unbelievable.

    191.      Such conduct is deliberately indifferent and amounts to a violation of due

process of law as guaranteed by the Fourteenth Amendment.

    192.      The Defendants’ many failures caused the injuries to Plaintiff.

    193.      As a direct and proximate cause of the Defendants’ actions, Plaintiff suffered

emotional and physical torture, injury, and trauma, immense pain and suffering, humiliation,

and terror.

                   SEVENTH CLAIM AGAINST ALL DEFENDANTS
              CONSPIRACY IN VIOLATION OF BOTH § 1985(2) AND §1985(3)


    194.      Plaintiff repeats and re-alleges each and every allegation set forth above as

though fully set forth at length herein.

    195.      Defendants agreed, cooperated, participated, and conspired to assist in and

effectuate plaintiff's unlawful force, detention, arrest, imprisonment, and malicious

prosecution for crimes he did not commit, and in so doing deprived plaintiff of his rights,




                                               26
      Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 27 of 40




privileges and immunities secured by the Constitution of the United States, including, but not

limited to, his rights under the Fourth and Fourteenth Amendments to the U.S. Constitution.

    196.     Defendant Officers conspired with each other for the purpose of impeding,

hindering, obstructing, or defeating, in any manner, the due course of justice. Here,

Defendants hid evidence, a criminal activity.

    197.     None of these acts were in any way related to corporate policy or management

decision, but were instead to further the criminal acts of Defendants.

    198.     Defendants cooperated together and hid their actions, and were not only creating

and assisting in such a situation, but were deliberately indifferent to the rights of the Plaintiff

to a degree that shocks the conscience.

    199.     Defendants’ obstruction of justice, knowledge of obstruction, in addition to their

deliberate indifference, caused Plaintiff’s injuries.

                    EIGHTH CLAIM FOR RELIEF
   SUPERVISORY LIABILITY FOR DEPRIVATION OF RIGHTS UNDER THE
           UNITED STATES CONSTITUTION AND 42 U.S.C. 1983

    200.     The Plaintiff incorporate by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

    201.     By their conduct in failing to remedy the wrongs committed by employees of the

THE CITY OF NEW YORK under their supervision; in failing to properly train, supervise,

or discipline employees of the THE CITY OF NEW YORK under their supervision; and in

directing employees under their supervision, Defendants, acting under the color of state law

and in their individual and official capacities and within the scope of their employment,

caused damage and injury in violation of Plaintiff' rights guaranteed under 42 U.S.C. § 1983,

and the United States Constitution, including its Amendments.




                                                27
      Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 28 of 40




    202.        As a result of the foregoing, Plaintiff was deprived of his liberty, suffered

specific and serious bodily injury, pain and suffering, emotional distress and psychological

injury, great humiliation, costs and expenses, and was otherwise damaged and injured.

                          NINTH CLAIM FOR RELIEF
           MONELL CLAIM AGAINST CITY DEFENDANT UNDER 42 U.S.C. 1983

    203.        The Plaintiff incorporate by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

    204.        The individual defendants, singly and collectively, while acting within the scope

of their employment and authority and under color of state law, engaged in conduct that

constituted customs, policies, practices, procedures, rules, or usages of the NYPD and their

specific precinct(s) forbidden by the Constitution of the United States.

    205.        The foregoing customs, policies, practices, procedures, rules, and usages include,

but are not limited to, editing and with-holding Body Worn Camera footage for the sole

purpose of hiding and destroying evidence of NYPD officers unconstitutional conduct. This

also includes, without limitation:

           a. Routinely editing BWC video directly, before producing such to agencies such as

                the CCRB, or the District Attorney’s Office, so that the video evidence of their

                excessive use of force is not preserved;

           b. Routinely with-holding video to different agencies, including the CCRB, or the

                District Attorney’s Office, that shows officers arresting an individual unlawfully

                and without probable cause;

           c.   Routinely altering BWC video footage in order to edit the narrative into one that

                is favorable to the NYPD;




                                                 28
         Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 29 of 40




             d. Ignoring evidence calling into question or directly or indirectly repudiating above

                  mentioned measures;

             e. Failing to perform basic supervision and oversight of videos, to catch and

                  discipline officers who engage in such conduct;

             f. Encouraging and directing, through policy and/or practice, its law enforcement

                  officers to destroy, edit, and withhold video evidence that would reveal

                  unconstitutional conduct;

             g.   Encouraging and directing, through policy and/or practice, its law enforcement

                  officers to hide and to edit BWC video that could be used to show officers

                  unconstitutional conduct.

      206.        Defendant CITY has recklessly and with deliberate indifference failed to provide

  adequate training and standards and policies and practices for its police officers. Such thus

  leads to recklessly and deliberately indifferent oversight which consciously permits the

  destruction of evidence, and leading to the arrest, and prosecution of individuals who are

  innocent of any wrongdoing in a related crime or crimes of which the individual is accused,

  arrested, and prosecuted.

      207.        The abuse to which plaintiff was subjected was consistent with an institutionalized

practice of the NYPD, which was known to and ratified by defendant CITY.

      208.        Despite knowledge of these institutionalized practices, defendant CITY has at no

time taken any effective action to prevent NYPD personnel from continuing to engage in this type

of misconduct.




                                                   29
         Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 30 of 40




      209.      Defendant CITY had prior notice of the vicious propensities of defendants, but

took no steps to train them, correct their abuse of authority, or to discourage their unlawful use of

authority.

      210.      The failure of defendant CITY to properly train defendants included the failure to

instruct them in applicable provisions of the State Penal Law of the State of New York, federal

and state constitutional limitations, and the proper and prudent use of force and arrests.

      211.      Defendant CITY authorized, tolerated as institutionalized practices, and ratified

the misconduct detailed above by, among other things:

             a. Failing to properly discipline, train, restrict, and control employees, including

                defendants, known to be irresponsible in their dealings with citizens of the

                community;

             b. Failing to take adequate precautions in the training, hiring, promotion, and

                retention of police personnel, including specifically defendants herein;

             c. Failing to forward to the offices of the District Attorneys evidence of criminal acts

                committed by police personnel;

             d. Failing to establish or assure the functioning of a bona fide and meaningful

                departmental system for dealing with complaints of police misconduct, but instead

                responding to these types of complaints with bureaucratic power and official

                denials calculated to mislead the public.

             e. That the failure to supervise and/or train by defendant CITY of defendants herein

                rose to the level of deliberate indifference to the consequences of its actions, and

                indifference to plaintiff's rights, privileges and immunities secured by the




                                                  30
          Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 31 of 40




               Constitution of the United States of America, inter alia, plaintiff's Fourth and

               Fourteenth Amendment rights.

        212.   The NYPD has inadequately screened, hired, retained, trained, and supervised its

employees, including the individual defendants herein, to respect the constitutional rights of those

individuals with whom NYPD police officers come in contact.

        213.   The foregoing customs, policies, practices, procedures, rules, and usages

constituted deliberate indifference to plaintiff's safety, well-being, and constitutional rights.

        214.   The foregoing customs, policies, practices, procedures, rules, or usages were the

direct and proximate cause of the constitutional violations suffered by plaintiff.

        215.   The foregoing customs, policies, practices, procedures, rules, or usages were the

moving force behind the constitutional violations suffered by plaintiff.

                          TENTH CLAIM FOR RELIEF
               VIOLATION OF AND RETALIATION FOR THE EXERCISE
                   OF RIGHTS TO FREE SPEECH AND ASSEMBLY


        216.   The Plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

        217.     By the actions described above, Defendants violated, and retaliated for the

exercise of, the free speech and assembly rights of Plaintiff. The acts and conduct of the

Defendants were the direct and proximate cause of injury and damage to plaintiff and violated his

statutory and common law rights as guaranteed by the laws and Constitution of the State of New

York.

        218.   As a result of the foregoing, Plaintiff was deprived of his liberty and property,

experienced pain and suffering, garden variety emotional injury, costs and expenses, and was

otherwise damaged and injured.



                                                  31
         Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 32 of 40




                             ELEVENTH CLAIM FOR RELIEF
                              VIOLATION OF TITLE II of the
                  AMERICANS WITH DISABILITIES ACT (42 U.S.C. § 12131 et seq.)

       219.     The Plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

       220.     Congress enacted the ADA upon finding, among other things, that “society has

tended to isolate and segregate individuals with disabilities” and that such forms for

discrimination continue to be “serious and pervasive social problem.” 42 U.S.C. § 12101(a)(2).

The mentally ill are being segregated and isolated in jails and prisons for the crime of being

mentally ill.

       221.     In response to these findings, Congress explicitly stated that the purpose of the

ADA is to provide “a clear and comprehensive national mandate for the elimination of

discrimination against individuals with disabilities” and “clear, strong, consistent, enforceable

standards addressing discrimination against individuals with disabilities.” 42 U.S.C. § 12101(b)(l)

(2).

       222.     Title II of the ADA provides in pertinent part: “[N]o qualified individual with a

disability shall, by reason of such disability, ...be subjected to discrimination by any such entity.”

42 U.S.C. § 12132. A person who is not a harm to others and themselves, cannot be arrested

discriminated against because society fears them for no good reason.

       223.     At all times relevant to this action, Defendants were public entities within the

meaning of Title II of the ADA and provided a program, service, or activity to the general public.

       224.     At all times relevant to this action, Plaintiff was a qualified individual with a

disability within the meaning of Title II of the ADA and met the essential eligibility requirements

for the receipt of the services, programs, or activities of Defendants.




                                                  32
         Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 33 of 40




       225.     Through the acts and omissions of Defendants and their agents and employees

described herein, Defendants have subjected Plaintiffs to discrimination on the basis of disability

in violation of Title II of the ADA by failing to provide him communication and space that is as

effective as communication provided to the general public during the course of law enforcement

interactions, and by wrongfully thinking his mental illness, specifically the symptoms of his

mental disability, a crime. Plaintiff was not reasonably accommodated from the time Defendant

Officers were told he has a variety of mental health disabilities.

       226.     As a result of the foregoing, Plaintiff was deprived of his liberty and property,

experienced pain and suffering, garden variety emotional injury, costs and expenses, and was

otherwise damaged and injured.

                             TWELFTH CLAIM FOR RELIEF
                          VIOLATION OF SECTION 504 of the
                      REHABILITATION ACT of 1973 (29 U.S.C. § 794)

       227.     The Plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

       228.     Section 504 of the Rehabilitation Act of 1973 provides in pertinent part: “[N]o

otherwise qualified individual with a disability. . . shall, solely by reason of her or his disability,

be excluded from the participation in, be denied the benefits, or be subjected to discrimination

under any program or activity receiving federal financial assistance . . .” 29 U.S.C. § 794.

       229.     Plaintiff was at all times relevant herein a qualified individual with disabilities

within the meaning of the Rehabilitation Act because he has mental and physical impairments

that substantially limits one or more of his major life activities. See 29 U.S.C. § 705(20)(B).

       230.     At all times relevant to this action Defendants were recipients of federal funding

within the meaning of the Rehabilitation Act.




                                                  33
         Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 34 of 40




      231.       Through their acts and omissions described herein, Defendants have violated the

Rehabilitation Act by excluding Plaintiff from participation in, by denying him the benefits of,

and subjecting him to discrimination in the benefits and services Defendants provide to the

general public

      232.       As a result of the foregoing, Plaintiff was deprived of his liberty and property,

experienced pain and suffering, garden variety emotional injury, costs and expenses, and was

otherwise damaged and injured.


                          THRITEENTH CLAIM FOR RELIEF
             ASSAULT AND BATTERY UNDER THE NEW YORK CONSTITUTION

      233.       The plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

      234.       By the actions described above, defendants did inflict assault and battery upon the

plaintiff. The acts and conduct of defendants were the direct and proximate cause of injury and

damage to the plaintiff and violated her statutory and common law rights as guaranteed by the

laws and Constitution of the State of New York.

      235.       As a result of the foregoing, plaintiff was deprived of his liberty and property,

experienced pain and suffering, garden variety emotional injury, costs and expenses, and was

otherwise damaged and injured.

                         FOURTEENTH CLAIM FOR RELIEF
           N.Y. STATE CONST. ART. I § 12 EXCESSIVE FORCE & DUE PROCESS

      236.       The plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

      237.       By using excessive force against Plaintiff without provocation and with no

penological purpose, and failing to intervene on behalf of one another’s unlawful and



                                                  34
         Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 35 of 40




unconstitutional conduct, Defendants deprived Plaintiff of his rights, remedies, privileges, and

immunities guaranteed to every citizen of the United States, in violation of 42 U.S.C. § 1983,

including, but not limited to, rights guaranteed by Article I § 12 of the New York State

Constitution.

      238.      Defendants acted under color of law and conspired to deprive Plaintiff of his civil,

constitutional, and statutory right to due process of law pursuant to §§ 5 and 6 of the New York

State Constitution by fabricating false statements against him for the purpose of covering up their

unconstitutional conduct, and are liable to Plaintiff under the New York State Constitution.

      239.      Defendants, their officers, agents, servants and employees, were responsible for

Plaintiff’s injuries. Defendant City, as employer of the officer defendants, is responsible for their

wrongdoing under the doctrine of respondeat superior.

      240.      As a direct and proximate result of the misconduct and the abuse of authority

detailed above, Plaintiff sustained the damages described above.

                                FIFTEENTH CLAIM FOR RELIEF
                       FALSE ARREST AND FALSE IMPRISONMENT
                          UNDER THE NEW YORK CONSTITUTION
      241.      The plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

      242.      By the actions described above, defendants caused plaintiff to be falsely arrested

and imprisoned, without reasonable or probable cause, illegally and without a warrant, and

without any right or authority to do so. The acts and conduct of the defendants were the direct

and proximate cause of injury and damage to the plaintiff and violated his statutory and common

law rights as guaranteed by the laws and Constitution of the State of New York.




                                                 35
          Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 36 of 40




       243.     As a result of the foregoing, plaintiff was deprived of his liberty and property,

experienced pain and suffering, garden variety emotional injury, costs and expenses, and was

otherwise damaged and injured.

                             SIXTEENTH CLAIM FOR RELIEF
                     TRESSPASS UNDER THE NEW YORK CONSTITUTION

       244.     The Plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

       245.     The Defendants willfully, wrongfully and unlawfully trespassed upon the person

of plaintiff.

       246.     As a result of the foregoing, Plaintiff was deprived of his liberty and property,

experienced pain and suffering, garden variety emotional injury, costs and expenses, and was

otherwise damaged and injured.

                       SEVENTEENTH CLAIM FOR RELIEF
        INTENTIONAL AND NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                     UNDER THE NEW YORK CONSTITUTION


       247.     The plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

       248.     By the actions described above, defendants engaged in extreme and outrageous

conduct, conduct utterly intolerable in a civilized community, which intentionally and/or

negligently caused severe emotional distress to Plaintiff. The acts and conduct of the defendants

were the direct and proximate cause of injury and damage to the plaintiff and violated his statutory

and common law rights as guaranteed by the laws and Constitution of the State of New York.




                                                 36
         Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 37 of 40




      249.     As a result of the foregoing, plaintiff was deprived of his liberty and property,

experienced pain and suffering, garden variety emotional injury, costs and expenses, and was

otherwise damaged and injured.

                          EIGHTEENTH CLAIM FOR RELIEF
                   NEGLIGENCE UNDER THE NEW YORK CONSTITUTION

      250.     The plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

      251.     The defendants, jointly and severally, negligently caused injuries, emotional

distress and damage to the plaintiff. The acts and conduct of the defendants were the direct and

proximate cause of injury and damage to the plaintiff and violated his statutory and common law

rights as guaranteed by the laws and Constitution of the State of New York.

      252.     As a result of the foregoing, plaintiff was deprived of his liberty and property,

experienced pain and suffering, garden variety emotional injury, costs and expenses, and was

otherwise damaged and injured.

                        NINETEENTH CLAIM FOR RELIEF
           NEGLIGENT HIRING, SCREENING, RETENTION, SUPERVISION AND
                 TRAINING UNDER THE NEW YORK CONSTITUTION

      253.     The plaintiff incorporates by reference the allegations set forth in all previous

Paragraphs as if fully set forth herein.

      254.     Defendants THE CITY OF NEW YORK negligently hired, screened, retained,

supervised and trained defendants. The acts and conduct of the defendants were the direct and

proximate cause of injury and damage to the plaintiff and violated his statutory and common law

rights as guaranteed by the laws and Constitution of the State of New York.




                                               37
         Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 38 of 40




       255.     As a result of the foregoing, plaintiff was deprived of his liberty and property,

experienced pain and suffering, garden variety emotional injury, costs and expenses, and was

otherwise damaged and injured.

                                 TWENTIETH CLAIM FOR RELIEF
                                   CONSTITUTIONAL TORT

       256.     Plaintiff incorporates by reference the allegations set forth in all preceding

paragraphs as if fully set forth herein.

       257.     Defendants, acting under color of law, violated plaintiff’s rights pursuant to Article

I, §§ 6, 8, 9, 11 and 12 of the New York State Constitution.

       258.     A damages remedy here is necessary to effectuate the purposes of §§ 6, 8, 9, 11

and 12 of the New York State Constitution, and appropriate to ensure full realization of plaintiff’s

rights under those sections.

       259.     As a result of the foregoing, plaintiff was deprived of his liberty and property,

experienced pain and suffering, garden variety emotional injury, costs and expenses, and was

otherwise damaged and injured.

                         TWENTY-FIRST CLAIM FOR RELIEF
               ABUSE OF PROCESS UNDER THE NEW YORK CONSTITUTION


       260.     Plaintiff incorporates by reference the allegations set forth in all preceding

paragraphs as if fully set forth herein.

       261.     By the conduct and actions described above, defendants employed regularly issued

process against plaintiff compelling the performance or forbearance of prescribed acts. The

purpose of activating the process was intent to harm plaintiff without economic or social excuse

or justification, and the defendants were seeking a collateral advantage or corresponding

detriment to plaintiff which was outside the legitimate ends of the process. The acts and conduct



                                                  38
         Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 39 of 40




of the defendants were the direct and proximate cause of injury and damage to plaintiff and

violated his statutory and common law rights as guaranteed by the laws and Constitution of the

State of New York.

       262.     As a result of the foregoing, plaintiff was deprived of his liberty and property,

experienced pain and suffering, garden variety emotional injury, costs and expenses, and was

otherwise damaged and injured.

                      TWENTY SECOND CLAIM FOR RELIEF
          MALICIOUS PROSECUTION UNDER THE NEW YORK CONSTITUTION

       263.     The plaintiff incorporates by reference the allegations set forth in all preceding

paragraphs as if fully set forth herein.

       264.     By the actions described above, defendants maliciously prosecuted plaintiff

without any right or authority to do so. The acts and conduct of the defendants were the direct

and proximate cause of injury and damage to plaintiff and violated his statutory and common law

rights as guaranteed by the laws and Constitution of the State of New York.

       265.     As a result of the foregoing, plaintiff was deprived of his liberty and property,

experienced pain and suffering, garden variety emotional injury, costs and expenses, and was

otherwise damaged and injured.


                            PRAYER FOR RELIEF
WHEREFORE, Plaintiff demands the following relief jointly and severally against all the

Defendants:

   a. Compensatory damages in an amount to be determined at trial;

   b. Punitive damages in an amount to be determined at trial;

   c. Attorney’s fees pursuant to 42 U.S.C. § 1988;

   d. An award of Plaintiff’s costs of suit;



                                                39
     Case 1:20-cv-11115-JGK Document 1 Filed 12/31/20 Page 40 of 40




e. Pre-judgment and post-judgment interest;

f. Such other relief as this Court deems just and proper.

           Dated this 31st day of December, 2020


                                 Respectfully Submitted,

                                 __________/s/_____________
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